                                Case 18-24367            Doc 90       Filed 11/27/19            Page 1 of 2
                                               United States Bankruptcy Court
                                                   District of Maryland
In re:                                                                                                     Case No. 18-24367-MMH
Anthony C. Greffenreid                                                                                     Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0416-1                  User: tsukeena                     Page 1 of 1                          Date Rcvd: Nov 25, 2019
                                      Form ID: stint                     Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 27, 2019.
db             +Anthony C. Greffenreid,   115 Laburnum Road,   Edgewood, MD 21040-3507

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 27, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 25, 2019 at the address(es) listed below:
              David M. Silbiger   dsilbiger@silbigerlawoffices.com, dsilbigerlaw@aol.com
              Diana C. Theologou    dtheologou@silvermanlegal.com
              Morgan W. Fisher   trustee@morganfisherlaw.com, MD65@ecfcbis.com
              Nikita Rajendra Joshi    Nikita.Joshi@bww-law.com, bankruptcy@bww-law.com
              Robert S. Thomas   ECF@ch13balt.com, rthomas13@ecf.epiqsystems.com
                                                                                            TOTAL: 5
                            Case 18-24367    Doc 90      Filed 11/27/19     Page 2 of 2
                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF MARYLAND
                                           at Baltimore
                                 In re:   Case No.: 18−24367 − MMH       Chapter: 7

Anthony C. Greffenreid
Debtor


                      NOTICE OF MISSING STATEMENT OF INTENT

DOCUMENT:                                        Voluntary Petition

PROBLEM:                                         The Statement of Intention is missing.

CURE:                                            The Statement of Intention shall be filed with the Court by the
                                                 date below.
                                                 A copy of the Statement of Intention shall be served on the
                                                 trustee and creditors named in the statement on or before the
                                                 filing of the statement.


The above deficiency must be cured by 12/26/19 , or on or before the date of the first meeting of the creditors,
whichever is earlier.


Additional information for non−attorney filers is available at
http://www.mdb.uscourts.gov/content/no−attorney


Dated: 11/25/19
                                                 Mark A. Neal, Clerk of Court
                                                 by Deputy Clerk, Todd Sukeena
                                                 410−962−4072


cc:    Debtor
       Attorney for Debtor − David M. Silbiger

Form stint (rev. 03/2005)
